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DNJ-CR-022 Order Regarding Use ofVideo Conferencing/Teleconferencing (Rev. 10/202 1)




                                    UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                                          *
                                                                  *

        V.                                                        *              MAG.NO. 22-17039(SAK)
                                                                  *

DAVID COLLINS
                                                               *****

   ORIWR REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING

          In accordance with the operative COVID-19 Standing Orders, this Court finds:

             That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

The proceeding(s) held on this date may be conducted by:

  EZI        Video Teleconferencing

  D          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

             D       The Defendant (or the Juvenile) is detained at a facility lacking video

          teleconferencing capability.

             D       Other:




Date: Ju17,2022
                                                                                 Honorable Sharon A. King
                                                                                 United States Magistrate Judge
